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                          UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

CHRISTOPHER MARK PARIS, and,
OXEBRIDGE QUALITY RESOURCES
INTERNATIONAL, LLC

       Plaintiffs,                                                Case No. 8:19-cv-00423
vs.

WILLIAM LEVINSON,
LEVINSON PRODUCTIVITY
SYSTEM, PC, a Pennsylvania
Corporation, MARC TIMOTHY
SMITH, individually, and d/b/a
CAYMAN BUSINESS SYSTEMS,
 GUBERMAN PMC, a Connecticut
Corporation, DARYL GUBERMAN,
an individual, DONAL LABELLE, an
individual

      Defendants.
_________________________________________

              DEFENDANT, WILLIAM LEVINSON’S, NOTICE OF FILING

       COMES NOW, the Defendant, WILLIAM LEVINSON, by and through the undersigned

attorney, hereby files the Paypal Transaction Details for April 25, 2019, as incorporated for

reference to the Affidavit of William Levinson (Docket No. 44, Composite Exhibit “A’) in support

of Defendant, WILLIAM LEVINSON’S Reply to Plaintiffs’ Response and Memorandum of Law

in Opposition to the Motion to Dismiss for Lack of Personal Jurisdiction

                               CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing has been electronically filed

using the Florida Middle District CM/ECF filing portal to Glen H. Shrayer, Esq., Shrayer Law

Firm, LLC, ghs@shrayerlaw.com; Mark Tischhauser, Esq., Tischhauser Law Group,

service@tischhauserlaw.com; Daryl Guberman, 1538 West Broad St., Stratford, CT 06615, and
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Donald Labelle, 44 Howarth Road, Oxford, MA 01540, on this 24th day of May, 2019.


                                         BAUMANN, GANT & KEELEY, P.A.
                                         Attorneys for Defendant,
                                         William Levinson
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                                         (813) 252-6097 fax

                                         BY:    /s/ Amara B. Rodriguez
                                                MATTHEW D. MILLER
                                                FLA BAR NO.: 177547
                                                AMARA B. RODRIGUEZ
                                                FLA BAR NO.: 1011232
